                         Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 1 of 6
                                                                                                                 USDS SONY
/\02453        (Rev, 09/08) Judgment in a Criminal Case
               Sheet 1                                                                                           DOCUMENT
                                                                                                                 )~Ll:CTRONICALLY FILED
                                           UNITED STATES DISTRICT Co rot # .. - - - ' . "---'1".1.--r_ _
                                                     SOUTHERN DISTRICT OF NEW VORl< DATE FILED: /                                      0.. 1.,3 113
               UNITED STATES OF AMERICA                                   )
                                                                           )                                 ~~~~~1~~~~
                                                                                      JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
                     SABIRHAN HASANOFF
                                                                          )
                                                                                      Case Number: 01: S6 10 CR 162-02 (KMW)
                                                                          )           USM Number: 75730-083
                                                                          )
                                                                          )

THE DEFENDANT:
~pleaded guilty to coullt(S)
o pleaded nolo contc:nclere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of 110t guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                                Offense Ended             Count

 18 U.S.C. 2339B                     Providing Material Support or Resources to a Foreign                            3/31/2010

                                        Terrorist Organization

 18 U.S.C. 371                       Conspiracy to. Provide'Material §UHp0rtQrResources.to a                         _3/31/2010                2
                                        Foreign Terrorist Organization.



   See additional count(s) on page 2


       The uefenuant is sentenced as provided in pages             through 6      of this judgment. The sentence is imposed pursuant to the
 Sentencing Reform Aet of 1984.
 o The defendant has been found not guilty on count(s)
 Ii'Count(s)     underlying indictments                   o   IS          dismissed on the motion ofthe United States.

          [t is ordered thaI the defend0nt !lUst notify the United States attorney for this disn:ic! 'within 30 days of any change of name, resid~nce.
 or mailing address until all fines. restItutIOn) costs, and specIal assessrtellts Imposed by thIS Judgment are fullv paId. Ifordered to pay restltution,
 the defenaant mtlst notify the court and Umted States attorney of material changes in economic circumstances.                             ­

                                                                           September 30, 2013
                                                                               Dale   UUf"J»"'JU   of Judgment




                                                                              Signature of Judge


                                                                           KIMBAM.                       U.S.D.J.
                                                                               Name of Judge                                 Title of Judge


                                                                                 If) -   Z. - I ?:J
                                                                               Date
                            Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 2 of 6

AO 245B            (Rev. 09i08) Judgment in a Criminal Case
vI                 Sheet 2 - Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: SABIRHAN HASANOFF
     CASE NUMBER: 01: S6 10 CR 162-02 (KMW)


                                                                       IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      180 months on Count 1 and 36 months on Count 2. to run consecutively. for a total of 216 months.




        Iilf   The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends to the Bureau of Prisons that the defendant be incarcerated at FCI Otisville. The Court recommends
     that the defendant be transitioned back into society through a Residential Reentry Center, with the maximum time allowed by
     law.

        Ii'    The defendant is remanded to the custody of the United States Marshal.

               The defendant shall surrender to the United States Marshal for this district:

               o    at ~_.                                    0 a.m.    o   p.m.   on

               o    as notified by the United States Marshal.

        o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               o    before                  on

               o    as notified by the United States Marshal.

               o    as notified by the Probation or Pretrial Services Office.



                                                                            RETURN
     I have executed this judgment as follows:




               Defendant delivered on       ~____.. ___.. _ _ _ _ _ _           ...__~.__ ._ to

     a _.__~ .._ . _____.. ______..._ _ _ _.._ , with a certified copy of this judgment.



                                                                                                       lJ}lITED STATES MARSHAL




                                                                                                   DEPUTY UNITED STATES MARSHAL
                          Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 3 of 6

AO 2458           (Rev. 09i08) Judgment in a Criminal Case
vi                Sheet 3 - Supervised Release


 DEFENDANT: 8ABIRHAN HA8ANOFF                                                                                            Judgment Page: 3 of 6

 CASE NUMBER: 01: 86 10 CR 162-02 (KMW)
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 3 years on each count, to run concurrently.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as detemlined by the court.
 o         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)

 o         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 16901, et seq.)
           as direc.ted by the probatIOn offi~er, the Bureal.l of Prisons, or any state sex offender registration agency in which he or she resides,
           works, IS a student, or was convIcted of a quahfYmg offense. (Check, if applicable.)

 o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pav in accordance with the
 Schedu Ie of Payments sheet of this judgment.                                                                         •
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted pennission to do so by the probatIOn officer;
     10)     the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pemlit confiscation of any
             contraband observea in plain view of the probation officer;
     II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcerrent officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned bv the defendant's criminal
             record or ~ersonal history or characteristics and shall pennit th e probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
                      Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 4 of 6

AO 2458       (Rev. 09/08) Judgment in a Criminal Case
vI            Sheet 3C -   Supervised Release


 DEFENDANT: SABIRHAI\l HASANOFF                                                                            Judgment Page: 4 of 6
 CASE NUMBER: 01: S610 CR 162-02 (KMW)

                                            SPECIAL CONDITIONS OF SUPERVISION
     The standard and mandatory conditions of supervised release apply, along with the following special conditions:

     The defendant shall submit his person, residence, place of business, vehicle, or any other premises under his control to a
     search, on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
     conditions of the release may be found. The search must be conducted at a reasonable time and in a reasonable manner.
     Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents that the
     premises may be subject to search pursuant to this condition.

     The defendant is to report to the nearest Probation Office within 72 hours of release from custody.

     The defendant shall be supervised by the district of his residence.
                          Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 5 of 6

AO 24513         (Rev. 09/08) Judgment in a Criminal Case
vI               Sheet 5 - Cnmmal Monetary Penalties

                                                                                                                                Judgment Page: 50f6
     DEFENDANT: 8ABIRHAN HA8ANOFF
     CASE NUMBER: 01: 8610 CR 162-02 (KMW)
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                             Fine                               Restitution
 TOTALS                $ 200.00                                               $ 0.00                               $ 0.00


     o   The determination of restitution is deferred until                       . An Amended Judgement in a Criminal Case (AG 245C) will be entered
         after such determination.                            -~~. ----.~....­



     o   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
         before the united States is paId.

     Name of Payee                                                           Total Loss*               Restitution Ordered      PrioritY or Percentage




                                                                                              $0.00                     $0.00
 TOTALS


     o    Restitution amount ordered pursuant to plea agreement $

     o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

     o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           o   the interest requirement is waived for the          o       fine   0 restitution.
           o   the interest requirement for the         o   fine       0     restitution is modified as follows:



     * Findings for the total arrnunt of losses are required under ChaIiers 109A,          110, 11 OA, and I13A of Title 18 for offenses committed on or after
     September 13, 1994, but before Apri123, 1996.
                            Case 1:10-cr-00162-KMW Document 142 Filed 10/03/13 Page 6 of 6

AD 2458            (Rev. 09/08) Judgment in a Criminal Case
vI               Sheet 6 - Schedule of Payments

                                                                                                                          Judgment Page: 60f6
 DEFENDANT: 8ABIRHAN HA8ANOFF
 CASE NUMBER: 01: 86 10 CR 162-02 (KMW)


                                                                  SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        ri   Lump sum payment of$            lQ9..:..QQ."~"~          due immediately, balance due

               D       not later than                                       , or
                       in accordance           D    C,        D    D,   D     E, or    D F below; or
 B        D    Payment to begin immediately (may be combined with                     DC,     D D,or      F below); or

 C        D    Payment in equal                           (e.g.. weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g.. months or years), to commence~ __." __.. (e.g., 30 or 60 days) after the date of this judgment; or

 D        D    Payment in equal                           {e.g.. weekly, monthly, quarterM installments of $        _"~ _ _ _ _ over a period of
                                (e.g.. mOnlhs or years), to commence                           30 or 6D days) after release from imprisonment to a
               term of supervision; or

 E        D    Payment during the term of supervised release will commence within _~ _____ (e.g., 3D or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, IJayment of crininal monetary penalties is due during
 imprisonment. All cril11nal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Finane ial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ri       Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.

          Wesam EI-Hanafi, 10 CR 162, $70,000.




     D    The defendant shall pay the cost of prosecution,

     o    The defendant shall pay the following court cost(s):

     ri   The defendant shall forfeit the defendant's interest in the following property to the United States:
           Forfeiture is ordered in the amount of $70,000, jointly and severally with his coconspirators.



     Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
     (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
